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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 MICHAEL GONIDAKIS, et al.,                         :
                                                    :
                Plaintiffs,                         :   Case No. 2:22-cv-0773
                                                    :
        v.                                          :   Chief Judge Algenon L. Marbley
                                                    :
 OHIO REDISTRICTING                                 :   Magistrate Judge Elizabeth P. Deavers
 COMMISSION, et al.,                                :
                                                    :
                Defendants.                         :

                                               ORDER

        This matter is set for a status conference on Friday, February 25, 2022, at 3:00 p.m., via

 telephone conference. Counsel for all parties, including the proposed intervenors, are instructed to

 attend. Dial-in instructions will be sent via email to counsel of record. Should any additional parties

 move to intervene prior to the time set for the status conference, dial-in instructions will be

 forwarded to their counsel as well.

        Plaintiffs are advised that this status conference will not substitute for the preliminary

 conference under Local Rule 65.1, regarding their motion for a preliminary injunction. Scheduling

 of the Local Rule 65.1 conference will be discussed at the status conference.

        IT IS SO ORDERED.



                                                ALGENON L. MARBLEY
                                                CHIEF UNITED STATES DISTRICT JUDGE

 DATED: February 23, 2022
